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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                            Case No.: 1:21-cr-00552 DLF-1



                           v.                        MOTION FOR LEAVE TO
                                                     WITHDRAW AS COUNSEL

KENNETH THOMAS,

                                  Defendant.

                      COMES NOW, counsel for Kenneth Thomas to respectfully request
leave of this honorable court to withdraw as counsel. As grounds for this motion
counsel would state:
                      1. Counsel was appointed to represent Mr. Thomas on June 2, 2021,
under the Criminal Justice Act.
                      2. On December 15, 2022, John Pierce entered his appearance in this
matter.
                      WHEREFORE counsel respectfully requests that he be granted leave
of the court to withdraw as counsel for the defendant.
Dated: December 16, 2022
                                                                                      Digitally signed by Joseph R.
                                                          Joseph R. Conte Conte
                                                              ___________________________
                                                                          Date: 2022.12.16 09:21:40 -05'00'

                                                              Joseph R. Conte, Bar #366827
                                                              Counsel for Kenneth Thomas
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United States v. Kenneth Thomas                                       Joseph R. Conte
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Motion for Leave to Withdraw as Counsel Page No. 1                    Coral Springs, FL 33071
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